         Case 1:21-cv-00361-MMB Document 44    Filed 03/16/23   Page 1 of 1




         UNITED STATES COURT OF INTERNATIONAL TRADE

 UNITED STATES,
      Plaintiff,                             Ct. No. 21-00361
 v.
 CROWN CORK & SEAL, USA, INC.,               Before: M. Miller Baker, Judge
 et ano.,
      Defendants.

                   ORDER OF REFERRAL TO MEDIATION

      Upon consideration of all papers filed, the court refers this case to medi-

ation under USCIT Rule 16.1. Judge Leo M. Gordon has agreed to serve as the

Judge Mediator and will facilitate all mediation sessions.

      This case is hereby STAYED through June 30, 2023. Unless the parties

file a stipulation of dismissal or a stipulated judgment disposing of all claims

in this matter by that date, or unless the court further extends the mediation

period at the suggestion of Judge Gordon, the stay will automatically lift on

July 1, 2023, and the case will return to the active calendar without further

direction from the court. Should the stay lift, the court will then issue a Rule

16 letter and set a deadline for Defendants to file their answer.

Dated:       March 16, 2023                      /s/ M. Miller Baker
             New York, New York                  M. Miller Baker, Judge
